         Case 3:22-cv-00380-JAM Document 23-1 Filed 06/17/22 Page 1 of 42




                            IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF CONNECTICUT
TERESA BEATTY, et al.,                    :              3:22-cv-00380-JAM
     Plaintiffs,                          :
             v.                           :
NED LAMONT, et al.,                       :
     Defendants.                          :              JUNE 17, 2022
            Defendants’ Memorandum in Support of their Motion to Dismiss

         Three individual named Plaintiffs—Plaintiff Beatty, Plaintiff Llorens, and Plaintiff

Weissinger—bring this action on behalf of themselves and a putative class of over 30,000

similarly situated people to challenge Connecticut’s statutes and regulations that require inmates

with assets to pay a portion of the costs of their incarceration (“the challenged laws 1”). Amended

Complaint, p. 1 Introductory paragraph (ECF No. 11) (“AC”). 2 The Court should dismiss the

Amended Complaint both on jurisdictional grounds and on its merits.

         As to jurisdiction, none of the named Plaintiffs has met their burden to allege facts that

establish their standing and, for related reasons, Plaintiffs have failed to establish that their

claims are ripe. In addition, even if Plaintiffs had standing at the outset of this litigation, post-

filing amendments to the challenged laws have rendered Plaintiffs’ claims moot. Moreover, the

Eleventh Amendment bars Plaintiffs’ claims both because Defendants—the Governor and the

Attorney General—do not have the necessary connection to the enforcement of the challenged


1
  The challenged laws were amended after Plaintiffs filed their operative Amended Complaint. Defendants reached
out to Plaintiffs, advised them of the amendments to the challenged laws, and asked Plaintiffs if they planned to
move for leave to amend or supplement their Amended Complaint to challenge the laws as amended. Plaintiffs
declined to move for leave to amend or supplement before Defendants filed this Motion to Dismiss. Therefore,
except with regard to the implications of the amendments for mootness purposes, this Memorandum analyzes the
challenged laws as they existed at the time of the operative Amended Complaint.
2
  Plaintiffs have advised undersigned counsel that they plan to move for class certification but Plaintiffs have not yet
done so or specified when they plan to do so. Defendants request that the Court decide this Motion to Dismiss
before addressing class certification. See, e.g., Ironforge.com v. Paychex, Inc., 747 F. Supp. 2d 384, 388 n.1
(W.D.N.Y. 2010) (“find[ing] it appropriate to decide [a] motion to dismiss before reaching the issue of class
certification” where the defendant “elected to do so”). Doing so will likely “protect[ ] both the parties and the court
from needless and costly further litigation” and will not evidently “prejudice any of the parties.” Lawson v. FMR
LLC, 554 F. Sup. 3d 186, 192-93 (D. Mass. 2021) (quotation marks omitted). Defendants anticipate objecting to
Plaintiffs’ motion for class certification on multiple grounds if and when Plaintiffs file it.

                                                           1
         Case 3:22-cv-00380-JAM Document 23-1 Filed 06/17/22 Page 2 of 42




laws to make them proper Ex parte Young Defendants and because to the extent (if any)

Plaintiffs have standing and their claims are not moot, the relief Plaintiffs seek is retrospective

for Eleventh Amendment purposes.

        As to the merits, Plaintiffs’ Amended Complaint fails to state a claim upon which relief

can be granted. Plaintiffs’ challenge is based solely on the Eighth Amendment’s Excessive Fines

Clause. The Supreme Court has made clear as a matter of law that payments that compensate the

government for a loss resulting from an individual’s conduct are remedial and therefore not fines

for purposes of the Eighth Amendment. In addition, even if the challenged laws could somehow

be considered punitive, by definition requiring a criminal to pay a sum based on the cost of their

incarceration is proportional to the crime committed and therefore not excessive under the Eighth

Amendment. Consistent with Supreme Court precedent, the circuit courts and district courts that

have addressed Excessive Fines Clause challenges to comparable costs of incarceration laws

have generally rejected those challenges. This Court should do the same here and dismiss

Plaintiffs’ Amended Complaint in its entirety.

                                             Factual Background

        The individual Plaintiffs—Plaintiff Beatty, Plaintiff Llorens, and Plaintiff Weissinger—

purport to bring this action on behalf of themselves and a class. AC, p. 1 Introductory paragraph.

Plaintiff Beatty was incarcerated on drug charges between 2000 and 2002. See id. at ¶ 15.

Plaintiff Beatty alleges that her mother bequeathed Plaintiff Beatty a 40% share of her estate—in

which the only remaining item is a house valued at approximately $590,000—and that “the

probate court will almost certainly order3” that the house “be sold and the proceeds be

distributed to Ms. Beatty and her siblings.” Id. at ¶ 26. Plaintiff Beatty believes that in the event

3
  Although Plaintiff Beatty alleges that the Probate Court “will almost certainly order” the sale of the property,
Plaintiff Beatty has taken steps in the Probate Court to slow or prevent the sale as will be discussed in more detail
below and the sale had not occurred at the time of the operative Amended Complaint. AC at ¶ 26.

                                                         2
        Case 3:22-cv-00380-JAM Document 23-1 Filed 06/17/22 Page 3 of 42




the Probate Court orders a sale, “her share of the house’s value will be approximately $230,000

before probate administrative expenses” and “she will have nowhere to live, so . . . plans to use

her inheritance to buy substitute housing.” Id. at ¶¶ 27-28.

       According to Plaintiff Beatty, the Connecticut “Department of Administrative Services

[(“the DAS”)] filed a notice in the probate court alleging that Ms. Beatty owes Connecticut

$83,762.26 for her time in custody.” Id. at ¶ 29. That purportedly “includes $55,000 for the 452

days spanning state fiscal years 2000 and 2001, during which she sat in pretrial detention

because she could not afford bail” and “$33,517 for her post-sentence incarceration, spanning

fiscal years 2001 and 2002.” Id. at ¶¶ 30-31. Plaintiffs allege that the DAS calculations are

incorrect. Id. at ¶ 32. Plaintiffs assert that “absent relief from this Court, Ms. Beatty will lose

$83,762.26 to Defendant Lamont in debt levied in violation of the constitution and calculated in

an arbitrary way.” Id. at ¶ 33.

       Plaintiff Llorens is serving a three-year sentence for burglary in a Connecticut prison and

his sentence will be complete in September 2022. Id. at ¶¶ 36, 39. Plaintiff Llorens alleges that

he owes $272,655 in costs of incarceration and does not allege that Defendants have taken any

action to collect those costs. Id. at ¶ 41. However, he “has a pending brutality lawsuit against the

municipal police employees who arrested him,” id. at ¶ 43, and is concerned that should he “win

that lawsuit or attain a monetary settlement, the defendants will recoup either the $272,655 that

they claim Mr. Llorens owes, or, half of his recovery, whichever is lesser.” Id. at ¶ 44.

       Plaintiff Wessinger served a sentence for larceny from 2014 to 2016. Id. at ¶ 46. He was

in a car accident in August 2017 and sued the other driver in Connecticut Superior Court. Id. at

¶¶ 48-49. Plaintiff Wessinger’s counsel in that action received a letter from the state “contending

that Mr. Weissinger owes approximately $118,000 for his time in prison” and notifying counsel



                                                 3
         Case 3:22-cv-00380-JAM Document 23-1 Filed 06/17/22 Page 4 of 42




of the state’s claim to a portion of any recovery Mr. Wessinger obtains in that suit. Id. at ¶ 46.

Plaintiffs allege that “[i]n late February of 2022, Mr. Weissinger and the other driver reached a

settlement to resolve his claims” and that “according to Defendant Lamont, Mr. Weissinger must

now pay half of that settlement amount to the State of Connecticut.” Id. at ¶ 51. Plaintiffs do not

provide the amount of the alleged settlement. Plaintiffs expressly do not “challenge the

lawfulness, duration, or conditions of their confinements in this action.” Id. at ¶ 52.

         Based on those facts, Plaintiffs allege a single Count against Defendants in their official

capacities 4 alleging that “the challenged statutes and regulations violate the Excessive Fines

Clause. U.S. Const. amend. 8, cl. 3.” Id. at ¶ 124. Plaintiffs also purport to bring this action on

“behalf of the following class of similarly situated persons: anyone owing prison debt to

Connecticut by virtue of having been incarcerated by the state on or after October 1, 1997 (the

“Class”).” Id. at ¶ 110; see also id. at ¶¶ 111-20 (additional class allegations). Plaintiffs represent

that “the Class can be reliably expected to exceed 30,000 people.” Id. at ¶ 111. Plaintiffs ask this

Court to:

    1. Declare “that the plaintiffs’ and the Class members’ prison debt is invalid, null, void and

         unenforceable,” id. at p. 20 ¶ (a);

    2. Declare “Conn. Gen. Stat. §§ 18-85a through -85c and their implementing regulations to

         be unconstitutional and void,” id. at p. 20 ¶ (b);




4
  Plaintiffs do not expressly allege whether their claims are against Defendants in their official capacities, their
individual capacities, or both. However, Plaintiffs’ method of putative service and the nature of the relief Plaintiffs
demand make clear that Plaintiffs’ claims are solely against Defendants in their official capacities. See, e.g.,
Thurmand v. University of Connecticut, 2019 U.S. Dist. LEXIS 14622, at *8-9 (D. Conn. Jan. 30, 2019) (Hall, J.)
(holding that equitable relief can only be obtained from state defendants in their official capacities, citing Frank v.
Relin, 1 F.3d 1317, 1327 (2d Cir. 1993)); Harnage v. Lightner, 163 Conn. App. 337, 344-45 (2016) (“Decisions of
this court have repeatedly held that a plaintiff, who serves a state defendant pursuant to § 52-64(a) by leaving a copy
of the process with the attorney general at the Office of the Attorney General, has properly served the defendant
only in his or her official capacity . . .”).

                                                          4
         Case 3:22-cv-00380-JAM Document 23-1 Filed 06/17/22 Page 5 of 42




    3. Enjoin Governor “Lamont, and anyone working for him or in concert with him or his

        successors, from enforcing the challenged statutes through any means, including but not

        limited to, his: issuing any formal or informal claim, notice, or lien asserting the

        existence of a prison debt or directing [Attorney General] Tong to collect a prison debt,”

        id. at p. 20 ¶ (c);

    4. Enjoin Attorney General Tong, “and anyone working for or in concert with him or his

        successors, from enforcing the challenged statutes through any means, including but not

        limited to, his: filing collections actions against any person, holding back judgment or

        settlement proceeds in cases he defends, or representing to any person or court that a debt

        imposed via the challenged statutes exists or is valid,” id. at p. 20 ¶ (d);

    5. Order Defendants “to reimburse the plaintiffs their reasonable litigation costs and

        attorneys’ fees pursuant to 42 U.S.C. § 1988,” id. at p. 20 ¶ (e); and

    6. Grant “any other relief it deems just and proper.” Id. at p. 20 ¶ (f).5

                         The Challenged Connecticut Laws and Regulations

        Plaintiffs ask this Court to inter alia declare Conn. Gen. Stat. §§ 18-85a, 18-85b, and 18-

85c and their implementing regulations unconstitutional and void. AC, p. 21 ¶ (b). For the

Court’s convenience, a copy of the challenged statutes and regulations is included at pages 1 to

18 of the Appendix submitted with this Memorandum.

        To briefly summarize, Conn. Gen. Stat. § 18-85a(a) directs the Commissioner of

Correction to adopt regulations concerning the assessment for the costs of their incarceration. (A-

1). Conn. Gen. Stat. § 18-85a(b) provides that the state shall have a claim against an inmate for

those costs, but exempts several categories of property: (1) the 22 categories of property exempt


5
  In the interest of brevity, Defendants will address additional facts alleged in the Amended Complaint in context in
the argument section below.

                                                         5
        Case 3:22-cv-00380-JAM Document 23-1 Filed 06/17/22 Page 6 of 42




under Connecticut’s post-judgment procedures statute (A-1); (2) certain property of a farm

partnership (A-1); (3) property subject to the law governing profits derived as a result of crime of

violence (A-1); (4) property acquired “by such inmate after the inmate is released from

incarceration,” except property subject to Conn. Gen. Stat. §§ 18-85b and 18-85c (which will be

discussed in more detail below), as well as lottery and pari-mutuel winnings (A-1); and (5)

property acquired by such inmate for work performed during incarceration as part of a program

designated or defined in regulations adopted by the Commissioner of Correction,” as various job

training or skill enhancement programs with minor exceptions (A-1). Conn. Gen. Stat. § 18-

85a(b) authorizes the Attorney General, at the Commissioner of Correction’s request, to bring an

action to enforce the state’s claim but that action must be brought either while the inmate is

incarcerated or within two years of either the inmate’s release or the inmate’s death unless there

was fraudulent concealment (A-1).

       Conn. Gen. Stat. § 18-85b(a) provides that the state shall have a lien against the proceeds

of any cause of action brought by an inmate either while the inmate is incarcerated or within

twenty years after the inmate’s release from incarceration (A-3). That lien is the lesser of the

costs of incarceration “or fifty per cent of the proceeds received by such person after payment of

all expenses connected with the cause of action.” (A-3). Six categories of claims have priority

over the state’s lien: (1) attorney’s fees; (2) expenses of suit; (3) costs of hospitalization

associated with the cause of action; (4) child support obligations; (5) restitution or payment of

compensation to a crime victim; and (6) a judgment in favor of a crime victim. (A-3).

       Conn. Gen. Stat. § 18-85b(b) provides that the state shall have a lien against an

inheritance that is received by an inmate either while the inmate is incarcerated or “within twenty

years from the date such person is released from incarceration.” (A-4). That lien is the lesser “of



                                                 6
        Case 3:22-cv-00380-JAM Document 23-1 Filed 06/17/22 Page 7 of 42




the costs of incarceration or fifty per cent of the assets of the estate payable to” the inmate. Conn.

Gen. Stat. § 18-85b(b).

       Conn. Gen. Stat. § 18-85c provides that the state shall have a claim against the estate of

an inmate or former inmate whose death “occurs within twenty years from the date such person

is released from incarceration.” (A-5). That claim exists only “to the extent that the amount

which the surviving spouse, parent or dependent children of the decedent would otherwise take

from the estate is not needed for their support.” Conn. Gen. Stat. § 18-85c. Six categories of

expenses have priority over the state’s claim. See id.

       Section 18-85a-1(a) of the Regulations of Connecticut State Agencies (A-14) defines

“Assessed Cost of Incarceration” and Section 18-85a-2 of the Regulations of Connecticut State

Agencies (A-16), in turn, provides that “inmates shall be charged for and shall be responsible to

pay” that assessed cost. Finally, Section 18-85a-4(b) of the Regulations of Connecticut State

Agencies (A-18) provides that amounts owed “shall be collected with the assistance of the

Department of Administrative Services and in accordance with a memorandum of understanding

between the Department of Correction [(“the DOC”)] and the” DAS. See Conn. Gen. Stat. § 4a-

12(a) (providing that the Commissioner of Administrative Services “shall be responsible for”

inter alia “such collection services for other state agencies and departments as shall be agreed to

between said commissioner and the heads of such other agencies and departments”). A copy of

that Memorandum of Understanding is included in the Appendix. (A-19). There is no reference

to the Governor in any of the statutes, the regulations, or the Memorandum of Understanding.

       On May 3, 2022, the Connecticut General Assembly transmitted H.B. No. 5506—titled

“An Act Adjusting the State Budget for the Biennium Ending June 30, 2023, Concerning

Provisions Related to Revenue, School Construction and Other Items to Implement the State



                                                  7
       Case 3:22-cv-00380-JAM Document 23-1 Filed 06/17/22 Page 8 of 42




Budget and Authorizing and Adjusting Bonds of the State”—to the Governor for his review and

signature. That bill was signed into law on May 7, 2022, became Public Act 22-118, and made

significant changes to the challenged laws. For example, it allowed most inmates an additional

exemption for up to fifty thousand dollars in other assets beyond the already available

exceptions. (A-28). In addition, it eliminated the state’s claim as to causes of action for most

inmates, including Plaintiff Llorens and Plaintiff Weissinger. (A-29). The act expressly provides

that both of those changes are “[e]ffective from passage and applicable to costs of incarceration

incurred, before, on or after the effective date” of the law. (A-27, 29) (emphasis in Public Act

No. 22-118). As noted above, Defendants advised Plaintiffs of the amendments to the challenged

laws and Plaintiffs declined to seek leave to amend or supplement their Amended Complaint to

challenge the laws as amended.

                                   Procedural Background

       Plaintiffs filed their initial Complaint on March 14, 2022 (ECF No. 1) and putatively

served Defendants by certified mail on March 17, 2022 (ECF No. 8). Plaintiffs amended their

Complaint as a matter of course on March 25, 2022 (ECF No. 11) and putatively served their

Amended Complaint on March 29, 2022 (ECF No. 15). Defendants moved for an extension of

time to respond to the Amended Complaint (ECF No. 14). This Court granted Defendants’

motion in part and set a May 9, 2022 deadline for Defendants to respond (ECF No. 16). After the

challenged laws were amended, Defendants requested—and this Court granted—an extension

through May 23, 2022 with Plaintiffs’ consent (ECF No. 18).

       The parties then conferred and filed a Joint Motion for Modification of Scheduling Order

(ECF No. 20), which the Court granted, that provided that Plaintiffs would inform Defendants by

June 3, 2022 whether Plaintiffs intended to file a motion for leave to amend their operative



                                               8
        Case 3:22-cv-00380-JAM Document 23-1 Filed 06/17/22 Page 9 of 42




Amended Complaint in light of the amendments to the challenged laws. Plaintiffs advised

Defendants that Plaintiffs decided not to move to amend. Therefore, Defendants timely filed this

Motion on the current June 17, 2022 deadline.

                                             Argument

I.     The Standard Applicable to this Motion to Dismiss

       Defendants bring this Motion pursuant to Rule 12(b)(1) and 12(b)(6). A Rule 12(b)(1)

motion is the proper vehicle to seek dismissal based on Plaintiffs’ failure to allege facts sufficient

to meet Plaintiffs’ burden to establish standing and constitutional ripeness. See, e.g., Liberian

Community Assn. of Conn. v. Lamont, 970 F.3d 174, 184 (2d Cir. 2020) (standing); Philadelphia

Indemnity Ins. Co. v. Enterprise Builders, 520 F. Sup. 3d 156, 160-61 (D. Conn. 2021) (Dooley,

J.) (constitutional ripeness). A Rule 12(b)(1) motion is also the proper vehicle to raise mootness.

See, e.g., Manon v. Hall, 2015 U.S. Dist. LEXIS 163812, at *5-6 (D. Conn. Dec. 7, 2015)

(Bryant, J.). In addition, “the Second Circuit has cited Rule 12(b)(1) when affirming the district

court’s holding that the Eleventh Amendment deprives the court of subject matter jurisdiction

over an action.” Mercer v. Schriro, 337 F. Sup. 3d 109, 135 n.16 (D. Conn. 2018) (Haight, J.)

(citing Madden v. Vermont Supreme Court, 8 F. App’x 128, 129 (2d Cir. 2001) (Summary

Order)); see also Morabito v. New York, 803 F. App’x 463, 465 n.2 (2d Cir. 2020) (Summary

Order) (“Although the district court characterized its dismissal as falling under Rule 12(b)(6), it

is more appropriately characterized as a dismissal under Rule 12(b)(1), as it was based on

sovereign immunity.”).

       As this Court recently recognized, “[t]he standard that governs a motion to dismiss under

Rules 12(b)(1) and 12(b)(6) is well established.” Campbell v. City of Waterbury, 2022 U.S. Dist.

LEXIS 22999, at *7 (D. Conn. Feb. 9, 2022) (Meyer, J.). “A complaint may not survive unless it



                                                  9
       Case 3:22-cv-00380-JAM Document 23-1 Filed 06/17/22 Page 10 of 42




alleges facts that, taken as true, give rise to plausible grounds to sustain subject-matter

jurisdiction and a plaintiff’s claims for relief.” Id. (citing Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009), Kim v. Kimm, 884 F.3d 98, 103 (2d Cir. 2018), and Lapaglia v. Transamerica Cas. Ins.

Co., 155 F. Supp. 3d 153, 155-56 (D. Conn. 2016)).

       “For purposes of a Rule 12(b)(1) motion to dismiss for lack of subject matter jurisdiction,

a court may consider reliable evidence outside the pleadings.” Id. (citing Carter v. HealthPort

Techs., LLC, 822 F.3d 47, 57 (2d Cir. 2016)). “For purposes of a Rule 12(b)(6) motion to dismiss

for failure to state a claim, a court must limit itself to the allegations of the complaint but may

also consider documents that are referenced in or integral to the allegations of the complaint.” Id.

at *7-8 (citing United States ex rel. Foreman v. AECOM, 19 F.4th 85, 106 (2d Cir. 2021)).

II.    The Court Should Dismiss this Action Because the Named Plaintiffs Lack Standing
       and their Claims Are Not Constitutionally Ripe

       “‘The law of Article III standing . . . serves to prevent the judicial process from being

used to usurp the powers of the political branches’” of the federal or state governments. Srabyan

v. New York, 2022 U.S. Dist. LEXIS 52173, at *5 (E.D.N.Y. Mar. 23, 2022) (quoting Clapper v.

Amnesty Int’l USA, 568 U.S. 398, 408 (2013)) (in the context of a challenge to state laws). “It

‘focuses on the part[ies] seeking to get [their] complaint before a federal court and not on the

issues [they] wish[ ] to have adjudicated.’” Id. (quoting Valley Forge Christian Coll. v. Ams.

United for Separation of Church and State, Inc., 454 U.S. 464, 484 (1982)).

       Plaintiffs “‘as the part[ies] invoking federal jurisdiction, bear[ ] the burden of

establishing’” standing. Faculty Alumni, & Students Opposed to Racial Preferences v. New York

University, 11 F.4th 68, 74 (2d Cir. 2021) (“FASORP”) (quoting Spokeo, Inc. v. Robins, 578 U.S.

330, 338 (2016) (“Spokeo”)). “‘Where, as here, a case is at the pleading stage, the plaintiff[s]

must ‘clearly . . . allege facts demonstrating’” each of the elements that make up the “‘irreducible

                                                10
       Case 3:22-cv-00380-JAM Document 23-1 Filed 06/17/22 Page 11 of 42




constitutional minimum’ of standing.’” Id. (quoting Spokeo, 578 U.S. at 338). Those elements

are that each Plaintiff (1) “has an injury in fact”; (2) “that there is a causal connection between

[the] injury and the conduct complained of; and (3) that [the] injury will be redressed by a

favorable judicial decision.” Harty v. West Point Realty, Inc., 28 F.4th 435, 2022 U.S. App.

LEXIS 7107, at *9 (2d Cir. Mar. 18, 2022) (citing Lujan v. Defs. of Wildlife, 504 U.S. 555, 560-

61 (1992)).

       “Because ‘the standing inquiry requires careful judicial examination of . . . whether the

particular plaintiff is entitled to an adjudication of the particular claims asserted,’ standing must

be assessed as to each plaintiff and each ‘plaintiff must demonstrate standing separately for each

form of relief sought.’” Seife v. United States HHS, 440 F. Supp. 3d 254, 272 (S.D.N.Y. 2020)

(quoting Allen v. Wright, 468 U.S. 737, 752 (1984) and Friends of the Earth, Inc. v. Laidlaw

Envtl. Servs. (TOC), Inc., 528 U.S. 167, 185 (2000)). Therefore, Plaintiffs “‘must establish that

[they have] standing to challenge each provision of” the statutes and regulations they seek to

challenge “‘by showing that [they were] injured by application of those provisions.’” Butler v.

Obama, 814 F. Supp. 2d 230, 240 (E.D.N.Y. 2011) (quoting Covenant Media of S.C., LLC v.

City of N. Charleston, 493 F.3d 421, 429-30 (4th Cir. 2007)). “‘[S]tanding is not dispensed in

gross.’” See id. (quoting Lewis v. Casey, 518 U.S. 343, 358 n. 6 (1996)).

       No Plaintiff has met their burden to clearly allege facts demonstrating that they have

standing as to any aspect of the statutes and regulations Plaintiffs seek to challenge. FASORP, 11

F.4th at 74. Therefore, this Court lacks subject matter jurisdiction and should dismiss the

Amended Complaint in its entirety. That Plaintiffs purport to bring this action on behalf of a

class “‘adds nothing to the question of standing, for even named plaintiffs who represent a class

must allege and show that they personally have been injured, not that injury has been suffered by



                                                 11
       Case 3:22-cv-00380-JAM Document 23-1 Filed 06/17/22 Page 12 of 42




other, unidentified members of the class to which they belong.” Srabyan, 2022 U.S. Dist. LEXIS

52173 at *6 (quoting Spokeo, 578 U.S. at 338 n.6). “In a class action, ‘federal courts lack

jurisdiction if no named plaintiff has standing.’” McMorris v. Carlos Lopez & Associates, LLC,

995 F.3d 295, 299 (2d Cir. 2021) (quoting Frank v. Gaos, 139 S. Ct. 1041, 1046 (2019)); see

also Mahon v. Ticor Title Ins. Co., 683 F.3d 59, 64 (2d Cir. 2012) (“disagree[ing] with the

approach that analyzes class certification before Article III standing and treats the class as the

relevant legal entity”).

        A. This Court Should Dismiss the Complaint in its Entirety Because No
           Plaintiff Has Clearly Alleged Facts Establishing an Injury in Fact that
           Supports Standing as to Any of the Challenged Statues and Regulations

        “[S]tanding requires an injury in fact that must be concrete and particularized, as well as

actual or imminent.” Carney v. Adams, 141 S. Ct. 493, 498 (2020) (quotation marks omitted). “It

cannot be conjectural or hypothetical.” Id. (quotation marks omitted). The Supreme Court has

been “reluctan[t] to endorse standing theories that rest on speculation about the decisions of

independent actors,” Clapper, 568 U.S. at 414, and a claimed injury is not imminent for standing

purposes if it is premised on the exercise of discretion by state actors. See, e.g., DaimlerChrysler

Corp. v. Cuno, 547 U.S. 332, 345 (2006).

        No Plaintiff has alleged an injury that supports standing. See, e.g., Pleasant v. County of

Merced, 2014 U.S. Dist. LEXIS 156603, at *8-10 (E.D. Cal. Nov. 4, 2014), aff’d in part on

relevant ground, 669 Fed. Appx. 388, 389 (9th Cir. 2016) (dismissing an Excessive Fines Clause

challenge to incarceration fees on standing grounds). Plaintiff Beatty’s alleged injury is based on

a notice the DAS filed in Probate Court of a lien pursuant to Conn. Gen. Stat. § 18-85b(b). AC at

¶ 29. Plaintiff Beatty speculates that the Probate Court “will almost certainly order” that her

mother’s house be sold “and the proceeds distributed to Ms. Beatty and her siblings” and that if



                                                12
         Case 3:22-cv-00380-JAM Document 23-1 Filed 06/17/22 Page 13 of 42




that happens the DAS lien will reduce Plaintiff Beatty’s share. Id. at ¶ 26. But the Supreme Court

has repeatedly held that “speculation about the decisions of independent actors” does not support

standing. Clapper, 568 U.S. at 414. Plaintiff Beatty’s claimed injury is premised on just such

speculation; it is speculative that the Probate Court will order the house to be sold, particularly

given that Plaintiff “Beatty, her brother James, two of her children, and one of her grandchildren

live in the house” and “have lived there almost their entire lives,” AC at ¶ 21, and that the

Probate Court file indicates that Plaintiff Beatty may be seeking to prevent the sale. 6 Plaintiff

Beatty’s asserted injury is too speculative to support standing.7

         So is Plaintiff Llorens’ asserted injury. Plaintiff Llorens alleges that he “has a pending

brutality lawsuit against the municipal police employees who arrested him,” AC at ¶ 43, and he is

apparently concerned that “[s]hould” he “win that lawsuit or attain a monetary settlement”

Defendants will seek to recover costs of incarceration under Conn. Gen. Stat. § 18-85b(a). AC at

¶ 44. This Court has already correctly held that such allegations are insufficient to support

standing in a challenge to Conn. Gen. Stat. § 18-85b(a); “[u]nless and until [Plaintiff Llorens]

receives a settlement or monetary damages from the pending action, and the State of Connecticut

enforces the costs of incarceration statute against him, [Plaintiff Llorens] has neither an ‘actual’

or an ‘imminent’ harm to redress, and therefore does not have standing to bring this claim.”

Paschal v. Santili, 2017 U.S. Dist. LEXIS 104721, at *4-5 (D. Conn. July 6, 2017) (Hall, J.).
6
  This court may “take[ ] judicial notice of public records filed in connection with” the Probate Court proceeding.
Black v. Wrigley, 2017 U.S. Dist. LEXIS 161824, at *5 (E.D.N.Y. Sep. 30, 2017) (citing Kramer v. Time Warner,
Inc., 937 F.2d 767, 774 (2d Cir. 1991)). The records in the Probate Court proceeding indicate that Plaintiff Beatty
and her brother James—both of whom live at the house—were bequeathed 60% of the estate (A-32), that there may
have been violations that needed to be cured before sale (A-36), that Plaintiff Beatty was not cooperating with
attempts to sell (A-36), that Plaintiff Beatty has a claim of $198,163.66 against the estate (A-39), and that Plaintiff
Beatty is considering “buying out [her] siblings” (A-41).
7
  Even if the Probate Court were to order the sale in the future, it would not vest Plaintiff Beatty with standing in this
action; the Second Circuit has emphasized that “the standing inquiry” is “‘focused on whether the party invoking
jurisdiction had the requisite stake in the outcome when the suit was filed.’” Chevron Corp. v. Donziger, 833 F.3d
74, 121 (2d Cir. 2016) (quoting Davis v. Federal Election Commission, 554 U.S. 724, 734 (2008) (emphasis in
Chevron Corp.)). Both the Amended Complaint and the Probate Court records make clear that no sale had been
ordered at the time Plaintiffs filed the Amended Complaint. AC at ¶ 26.

                                                           13
        Case 3:22-cv-00380-JAM Document 23-1 Filed 06/17/22 Page 14 of 42




This Court’s decision in Paschal involved the straightforward application of United States

Supreme Court standing precedent and there is no reason why this Court should reach a different

result here. See id. at *4-5 (citing cases including Lujan, 504 U.S. at 560). 8

         Plaintiffs likewise fail to “allege[ ] facts that affirmatively and plausibly suggest that [Mr.

Weissinger] has standing to sue.” Carter, 822 F.3d at 56 (quotation marks omitted). Although

Plaintiffs allege that—unlike Plaintiff Llorens—Plaintiff Weissinger obtained “a settlement”

before Plaintiffs filed this action, Plaintiffs do not affirmatively allege the facts necessary to

establish that Plaintiff Weissinger has standing. AC at ¶ 44. Specifically, Plaintiffs do not allege

the amount of Plaintiff Weissinger’s settlement and make no assertions as to the other claims that

may exist as to its proceeds. Conn. Gen. Stat. § 18-85b(a) (A-3) provides for six categories of

claims that have priority over the state’s challenged costs of incarceration claim. To hold that

Plaintiff Weissinger has standing based on the Amended Complaint’s allegations alone would go

beyond “simply draw[ing] inferences in his favor,”; it would require the Court to improperly

“speculate about an injury that he alleges to be suffering in only the most generic sense.”

Carlone v. Lamont, 2021 U.S. App. LEXIS 32440, at *6 (2d Cir. Nov. 1, 2021) (Summary

Order). Such speculation cannot properly support jurisdiction.

         Since Plaintiffs fail to establish “the ‘[f]irst and foremost’ of standing’s three elements’—

injury in fact,” the Court should dismiss Plaintiffs’ Amended Complaint in its entirety on

standing grounds and “need not address traceability or redressability.” Lacewell v. Office of the




8
  Plaintiffs do not offer any details regarding Plaintiff Llorens’ suit, including—but not limited to—its merit, at what
stage the litigation is, or whether the municipal defendants have made any settlement offers (let alone any settlement
offers that would allow the state to assert a claim under Conn. Gen. Stat. § 18-85b(a), given that other claims would
have priority). Even if Plaintiff Llorens were to obtain damages or a settlement in the future, it would not vest him
with standing in this action; because “the standing inquiry” is “‘focused on whether the party invoking jurisdiction
had the requisite stake in the outcome when the suit was filed.’” Chevron Corp., 833 F.3d at 121 (quoting Davis,
554 U.S. at 734 (emphasis in Chevron Corp.)).

                                                          14
        Case 3:22-cv-00380-JAM Document 23-1 Filed 06/17/22 Page 15 of 42




Comptroller of the Currency, 999 F.3d 130, 141 (2d Cir. 2021) (quoting Spokeo, 578 U.S. at

338).

        B. Plaintiffs Lack Standing to Challenge the Statutes and Regulations to the
           Extent they Have Had No Impact on Plaintiffs

        Plaintiffs’ claimed injuries are too “conjectural or hypothetical” to support standing at all

for the reasons discussed above. Carney v. Adams, 141 S. Ct. 493, 498 (2020) (quotation marks

omitted). But even if the Court were to somehow conclude that any or all Plaintiffs established

standing in some respect (it should not), Plaintiffs’ claimed injuries arising from a subset of the

statutes and regulations they challenge are not a basis upon which to invalidate the entire

statutory and regulatory scheme. Compare AC p. 21 ¶ (b) (seeking a declaration that “Conn. Gen.

Stat. §§ 18-85a through -85c and their implementing regulations [are] unconstitutional and

void”), with id. at ¶¶ 14-52 (alleging facts that only appear to implicate Conn. Gen. Stat. §§ 18-

85b(a) and 18-85b(b) and related regulations). Plaintiffs must establish standing to challenge

each aspect of the statutory and regulatory scheme they ask this Court to invalidate—“standing is

not dispensed in gross.” Lewis, 518 U.S. at 358 n. 6. Plaintiffs “‘must establish that [they have]

standing to challenge each provision of” the statutes and regulations they seek to challenge “‘by

showing that [they were] injured by application of those provisions.’” Butler, 814 F. Supp. 2d at

240 (quoting Covenant Media of S.C., LLC, 493 F.3d at 429-30); see also Lamar Advertising of

Penn, LLC v. Town of Orchard Park, 2008 U.S. Dist. LEXIS 27647, at *15-25 (W.D.N.Y. Feb.

25, 2008) (holding that the plaintiff had to establish standing as to each aspect of the challenged

ordinance and analyzing the applicable Supreme Court and Circuit precedent in detail).

        C. Plaintiffs’ Claims Are Not Constitutionally Ripe

        Because their claims rest on speculation, supposed facts, and the anticipated future

actions of third parties, Plaintiffs’ “claims are not constitutionally ripe.” Lacewell, 999 F.3d at

                                                 15
       Case 3:22-cv-00380-JAM Document 23-1 Filed 06/17/22 Page 16 of 42




149-50. Plaintiffs are asking this Court to entangle itself “‘in abstract disagreements over matters

that are premature for review because the injury is merely speculative and may never occur.’” Id.

(quoting In re Methyl Tertiary Butyl Ether (MTBE) Prods. Liab. Litig., 725 F.3d 65, 110 (2d Cir.

2013)). Plaintiff Beatty offers only speculation as to how the Probate Court may rule. Because

Plaintiff Llorens “has not prevailed in [ ]his action, there is no recovery against which a lien may

be assessed” and his “claim therefore is not ripe.” Jones v. Waldron, 2018 U.S. Dist. LEXIS

106982, at *9 (D. Conn. June 27, 2018) (Bolden, J.) (rejecting a motion to modify liens issued

under Conn. Gen. Stat. § 18-85b(a)). Finally, even though Plaintiff Weissinger is alleged to have

obtained a recovery in his state court action, there are insufficient factual allegations to establish

that he has been—or will be—required to pay costs of incarceration. Therefore, constitutional

ripeness is an additional independent jurisdictional ground for dismissal of the Amended

Complaint in its entirety. See, e.g., Lacewell, 999 F.3d at 150.

III.   The Amendments to the Challenged Laws Render Plaintiff Llorens’ Claim
       and Plaintiff Weissinger’s Claim Moot and Render Plaintiff Beatty’s Claim
       too Remote and Speculative to Avoid Mootness

       Even if Plaintiff Llorens or Plaintiff Weissinger had met their burden to establish

standing (they did not), the amendments to the challenged laws render their claims moot. See,

e.g., Lamar Advertising of Penn, LLC v. Town of Orchard Park, 356 F.3d 365, 373 (2d Cir.

2004) (addressing whether the plaintiff had standing before holding that amendments to the

challenged ordinances rendered the plaintiff’s claims moot). Specifically, the amendments

limited Conn. Gen. Stat. § 18-85b(a)’s lien against proceeds from causes of action to inmates

incarcerated for capitol felonies, murders with special circumstances, felony murder, and some

felony sexual offenses. (A-29). The relevant amendment was “[e]ffective from passage” in May

2022 “and applicable to costs of incarceration incurred, before, on or after” the effective date



                                                 16
       Case 3:22-cv-00380-JAM Document 23-1 Filed 06/17/22 Page 17 of 42




(A-29 (emphasis in the Public Act)). Neither Plaintiff Llorens nor Plaintiff Weissinger alleges

that he was convicted of one of the covered offenses. See AC, ¶¶ 37 & 46 (alleging incarceration

for burglary and larceny). Therefore, the amendment to Conn. Gen. Stat. § 18-85b(a) renders

their claims moot; in light of the amendments to the challenged laws, their alleged injury—that

they will be deprived of portions of the proceeds of their causes of action—“is neither actual nor

threatened at this time.” In re Kurtzman, 194 F.3d 54, 58 (2d Cir. 1999).

       The amendment to Conn. Gen. Stat. § 18-85b(a) alone was sufficient to moot Plaintiff

Llorens’ and Plaintiff Weissinger’s claims but the separate amendment to Conn. Gen. Stat. § 18-

85a(b) independently moots them as well. That amendment provides that “[i]n addition to” other

previously existing exemptions, “up to fifty thousand dollars of other assets shall be exempt”

from costs of incarceration for most inmates, including Plaintiff Llorens and Plaintiff Weissinger

(A-28). As discussed above, Plaintiff Llorens has not yet obtained—and may never obtain—a

recovery on his cause of action and Plaintiff Weissinger makes only vague allegations as to his

settlement. To the extent any such recovery would leave or left either Plaintiff with less than

$50,000 in assets, Public Act 21-118’s amendment to Conn. Gen. Stat. § 18-85a(b)

independently moots Plaintiffs’ claims.

       Public Act 21-118’s amendment to Conn. Gen. Stat. § 18-85a(b) also renders Plaintiff

Beatty’s claim subject to dismissal on mootness grounds. As discussed above, Plaintiff Beatty’s

alleged injury is based on speculation that the Probate Court “will almost certainly order” the

sale of a house and that speculation is insufficient to establish standing. AC at ¶ 26. Even if

Plaintiff Beatty could establish standing, the facts of the Amended Complaint are insufficient to

make it more than speculative that if the Probate Court were to order the sale of the house

Plaintiff Beatty’s share would exceed the $50,000 exception under Conn. Gen. Stat. § 18-85a(b)



                                               17
        Case 3:22-cv-00380-JAM Document 23-1 Filed 06/17/22 Page 18 of 42




as amended (A-28).9 Plaintiff Beatty estimates that “her share of the house’s value will be

approximately $230,000” but that estimate is expressly “before probate administrative

expenses.” AC at ¶ 27. Those expenses will likely prove to be substantial; the Probate Court file

indicates that there may be zoning issues, substantial claims for reimbursement, and assorted

other taxes, fees, and expenses. (A-36, 39, 41). The prospect that Plaintiff Beatty will be required

to pay costs of incarceration under the amended statutes is too “remote and speculative” to

overcome mootness. Preiser v. Newkirk, 422 U.S. 395, 403 (1975). Therefore, mootness is an

additional independent jurisdictional ground for dismissal of this action in its entirety.

IV.      The Eleventh Amendment Bars Plaintiffs’ Claims in their Entirety Because
         Plaintiffs Name Improper Defendants and Plaintiffs Seek Retrospective Relief

         The Eleventh Amendment requires dismissal of Plaintiffs’ Amended Complaint for two

reasons. First, Plaintiffs’ claims against Defendants do not come within the “narrow exception”

to the Eleventh Amendment the United States Supreme Court recognized in Ex parte Young

because neither Defendant is a proper Defendant. Whole Woman’s Health v. Jackson, 142 S. Ct.

522, 532 (2021). That is fatal to Plaintiffs’ claims as pleaded. 10

         Second, “retrospective form[s] of relief [are] barred by the Eleventh Amendment.” Ward

v. Thomas, 207 F.3d 114, 120 (2d Cir. 2000). To the extent (if any) Plaintiffs have standing and

their claims are not moot, the relief Plaintiffs demand is retrospective and the Court should

therefore dismiss Plaintiffs’ claims on that ground as well. 11


9
   Like the other named Plaintiffs, Plaintiff Beatty is eligible for the exception. Compare AC at ¶ 26 (alleging that
Plaintiff Beatty was incarcerated for drug charges), with Public Act No. 22-118, § 457(b) (A028) (making the
exemption available to all inmates, except those incarcerated for certain violent offenses).
10
    Defendants expressly informed Plaintiffs of this argument in the parties’ discussions regarding whether Plaintiffs
would move to amend or supplement their Amended Complaint following the amendments to the challenged laws.
Defendants did so to offer Plaintiffs an opportunity to seek to avoid this issue by naming a proper Defendant.
Without explanation, Plaintiffs chose not to seek leave to amend either to name a proper Defendant or to challenge
the laws as amended.
11
    This Court need not address the Eleventh Amendment issues if the Court agrees that this action should be
dismissed on other grounds, including standing, mootness, or the merits. See, e.g., Springfield Hospital, Inc. v.

                                                         18
        Case 3:22-cv-00380-JAM Document 23-1 Filed 06/17/22 Page 19 of 42




        A. The Governor is Not a Proper Ex parte Young Defendant

        Neither the challenged statutes nor the challenged regulations give the Governor any role

in their enforcement. See A-1 to A-18 (making no reference to the Governor). As a result,

Plaintiffs “do not”—and cannot—“direct this Court to any enforcement authority the” Governor

“possesses in connection with” the challenged statutes and regulations “that a federal court might

enjoin him from exercising.” Whole Woman’s Health, 142 S. Ct. at 534.

        Instead, Plaintiffs name the Governor as a Defendant because he “oversees all of the

state’s executive branch departments and commissions,” AC at ¶ 8, including the DOC and the

DAS (which do have roles in the challenged statutes and regulations). Id. at ¶¶ 9-10, 29, 56. But

the Supreme Court made clear in Ex parte Young itself that it would be inconsistent with the

Eleventh Amendment to hold that

        “the constitutionality of every act passed by the legislature could be tested by a
        suit against the governor and the attorney general, based upon the theory that the
        former, as the executive of the State was, in a general sense, charged with the
        execution of all its laws, and the latter, as attorney general, might represent the
        State in litigation involving the enforcement of its statutes.”

Ex parte Young, 209 U.S. 123, 157 (1908) (quoting Fitts v. McGhee, 172 U.S. 516, 530 (1899)).

The Eleventh Amendment made it “plain” that for a state officer to be a proper defendant, “such

officer must have some connection with the enforcement of the act, or else it is merely making

him a party as a representative of the State, and thereby attempting to make the State a party.” Id.

        Consistent with Ex parte Young, courts have consistently held—and this Court recently

reiterated—that for a state official to be a proper defendant it is “[i]mportant” that “the official

being sued must have (1) a particular duty to enforce the law in question and (2) a demonstrated



Guzman, 28 F.4th 403, 2022 U.S. App. LEXIS 6741, at *21 n.17 (2d Cir. Mar. 16, 2022) (citing with approval cases
concluding in the Eleventh Amendment context “that there is no need to decide the jurisdictional question before
reaching the merits”); Donohue v. Cuomo, 980 F.3d 53, 77 n.15 (2d Cir. 2020) (noting that the Court has “declined
to address Eleventh Amendment issues” where the appeal could be resolved on other grounds and citing cases).

                                                       19
       Case 3:22-cv-00380-JAM Document 23-1 Filed 06/17/22 Page 20 of 42




willingness to exercise that duty.” Urso v. Lamont, 2021 U.S. Dist. LEXIS 240005, at *16 (D.

Conn. Dec. 15, 2021) (Dooley, J.) (citing cases, including Roberson v. Cuomo, 524 F. Supp. 3d

196, 223 (S.D.N.Y. 2021), which collected cases on this issue). As Ex parte Young expressly

indicates, “[w]ith respect to these requirements, ‘[a] governor does not meet this exception solely

based upon the theory that [he or she], as the executive of the state, was, in a general sense,

charged with the execution of all its laws.’” Id. (quoting Hund v. Cuomo, 501 F. Supp. 3d 185,

197 (W.D.N.Y. 2020), which—in turn—was quoting Ex parte Young, 209 U.S. at 157). That

requires dismissal of the Governor as a Defendant in this case; the challenged statutes and

regulations do not “create or contemplate any duty on the part of the Governor with respect to”

their enforcement and given that “the Governor has no ‘particular duty to enforce’” the

challenged statutes and regulations “it is axiomatic that he has not ‘demonstrated willingness to

exercise that duty.’” Id. at *17, 21 (quoting Roberson, 524 F. Supp. 3d at 223) (dismissing an

action against a Governor on Eleventh Amendment grounds); see also Kuck v. Danaher, 822 F.

Supp. 2d 109, 142-43 (D. Conn. 2011) (Bryant, J.) (dismissing the Governor as a defendant and

holding that his appointment of the members of the board at issue did not make him a proper Ex

parte Young defendant); Conn. Assn. of Health Care Facilities v. Rell, 2010 U.S. Dist. LEXIS

54649, at *13-16 (D. Conn. June 2, 2010) (Dorsey, J.) (similar).

       B. The Attorney General is Not a Proper Ex parte Young Defendant

       As noted above, the Supreme Court made clear in Ex parte Young itself that an “‘attorney

general’” is not a proper defendant simply because he “‘might represent the State in litigation

involving the enforcement of its statutes.’” Ex parte Young, 209 U.S. at 157 (quoting Fitts, 172

U.S. at 530). Nor is the Attorney General a proper Defendant based on his “‘general authority to

enforce the laws of the state’” any more than the Governor is. Chrysafis v. James, 534 F. Sup. 3d



                                                20
        Case 3:22-cv-00380-JAM Document 23-1 Filed 06/17/22 Page 21 of 42




272, 293 (E.D.N.Y. 2021) (quoting HealthNow New York, Inc. v. New York, 739 F. Supp. 2d

286, 295 (W.D.N.Y. 2010), aff’d on other grounds, 448 F. App’x 79 (2d Cir. Sept. 12, 2011)

(Summary Order) (“Health Now”)) (holding that an attorney general was not a proper

defendant). Rather, the Attorney General is a proper Defendant only if Plaintiffs’ allegations

plausibly establish that he has “(1) a particular duty to enforce the law in question and (2) a

demonstrated willingness to exercise that duty.” Urso, 2021 U.S. Dist. LEXIS 240005, at *16

(citing cases, including Roberson, 524 F. Supp. 3d at 223, which collected cases on this issue).

        Plaintiffs have not met that burden. Their only allegations regarding the Attorney General

that even arguably relate to a named Plaintiff is that the Attorney General “has the statutory

authority to file collections actions against people owing prison debt.” AC at ¶ 13 (citing Conn.

Gen. Stat. § 18-85a); see also AC at ¶ 102 (referencing an action the Attorney General filed

against someone other than a named Plaintiff). However, Plaintiffs omit from their allegation

that the statute authorizes the Attorney General to bring such actions only “on request of the

Commissioner of Correction.” Conn. Gen. Stat. § 18-85a(b) (A-1).12 Plaintiffs do not allege that

the Commissioner of Correction has requested that the Attorney General bring suit against a

named Plaintiff. In any event, that the Attorney General’s duty to enforce Conn. Gen. Stat. § 18-

85a exists only at the direction of the Commissioner of Correction precludes a holding that the

Attorney General has either “a particular duty to enforce the law in question” or the

“demonstrated willingness to exercise that duty” required to make him a proper Ex parte Young

Defendant. Urso, 2021 U.S. Dist. LEXIS 240005, at *16; see also Kelly v. New York State Civil

Service Commission, 2015 U.S. Dist. LEXIS 27443, at *9 (S.D.N.Y. Jan. 26, 2015) (holding that




12
  Plaintiffs acknowledge elsewhere in their Complaint that the Attorney General acts at the direction of the
Department of Correction. See AC, ¶ 56.

                                                    21
        Case 3:22-cv-00380-JAM Document 23-1 Filed 06/17/22 Page 22 of 42




members of a state civil service commission were not proper Ex parte Young defendants where

the operative decisions were made by local commissions).

        Plaintiffs’ allegations regarding actions the Attorney General has taken in defending

actions against the state or its employees do nothing to change that result. As an initial matter,

none of those allegations relate to any named Plaintiff; Plaintiff Beatty’s allegations relate to a

notice the DAS filed in Probate Court, AC at ¶ 29, Plaintiff Llorens’ allegations relate to a suit he

filed against municipal defendants in which the Attorney General would have no involvement

absent a request from an agency, id. at ¶¶ 43-44, and Plaintiff Weissinger’s allegations relate to a

private car accident in which the Attorney General would have no involvement. Id. at ¶¶ 48-52.

Moreover, and more fundamentally, the Second Circuit has made clear that the Attorney

General’s duty to defend suits against the state does not make him a proper Ex parte Young

Defendant. See Mendez v. Heller, 530 F.2d 457, 460 (2d Cir. 1976); see also Chrysafis, 534 F.

Supp. 3d at 291-92 (relying in part on Mendez in holding that an attorney general’s duty to

defend did not make her a proper Ex parte Young defendant).

        Plaintiffs’ failure to “name [a] proper defendant” is “‘fatal to the[ir] claim[s]’” because of

the Eleventh Amendment. HealthNow, 739 F. Supp. 2d at 295 (quoting Confederated Tribes &

Bands of Yakama Indian Nation v. Locke, 176 F.3d 467, 469 (9th Cir. 1999)). For similar

reasons, Plaintiffs have “failed to allege a requisite ‘case’ or ‘controversy’ against the Attorney

General” or the Governor and “therefore lack[ ] standing.” HealthNow, 448 F. App’x at 82.

Whether this Court views the issue as one of a failure to name a proper Ex parte Young

Defendant or a failure to establish standing “this suit must be dismissed for lack of subject matter

jurisdiction.” Id.13


13
  The district court in HealthNow treated the issue as a failure to name a proper Ex parte Young defendant and
conducted substantial analysis. HealthNow, 739 F. Supp. 2d at 293-98. Although the Second Circuit affirmed on

                                                     22
        Case 3:22-cv-00380-JAM Document 23-1 Filed 06/17/22 Page 23 of 42




        C. The Eleventh Amendment Bars Plaintiffs’ Claims Because they Seek
           Retrospective Relief

        The Supreme Court has long held—and this Court recently reiterated—that “the Ex Parte

Young exception extends only to claims for ongoing violations of federal law and that seek

prospective injunctive relief.” Campbell, 2022 U.S. Dist. LEXIS 22999, at *11; see also Green v.

Mansour, 474 U.S. 64, 68 (1985) (“We have refused to extend the reasoning of Young . . . to

claims for retrospective relief.”). The Second Circuit has “recognize[d] that in many cases the

difference between the type of relief barred by the Eleventh Amendment and that permitted

under Ex parte Young is not as clear cut as the brightness of high noon and the darkness of

midnight.” Dairy Mart Convenience Stores, Inc. v. Nickel (In re Dairy Mart Convenience Stores,

Inc.), 411 F.3d 367, 375 (2d Cir. 2005) (“Dairy Mart”). More colorfully, the Second Circuit

compared applying this distinction to “examining a subject in that half-light called the gloaming,

where to identify it accurately one needs to have the instincts of Argos, Odysseus’ dog, who

recognized his master dressed as a beggar upon his return home after 20 years’ absence.” New

York City Health & Hospitals Corp. v. Perales, 50 F.3d 129, 130 (2d Cir. 1995).

        But the Supreme Court and the Second Circuit have left no doubt that a line exists

between prospective relief (which is generally permissible) and retrospective relief (which the

Eleventh Amendment bars). Here, if the Court somehow concludes that one or all Plaintiffs has

standing and their claims are not moot 14, the “relief” Plaintiffs demand falls on the side of the

line that is “barred by the Eleventh Amendment.” Dairy Mart, 411 F.3d at 375.




standing grounds, it noted the district court’s holding “that the Attorney General was not a proper defendant”
without expressing doubt about the district court’s analysis. HealthNow, 448 F. App’x at 80. As a result, courts have
continued to follow the district court’s proper defendant analysis and Defendants believe it is appropriate for this
Court to do so here. See, e.g., Chrysafis, 534 F. Sup. 3d at 292.
14
   Standing and mootness are “threshold issue[s], to be reached even before [the Court] consider[s] the Eleventh
Amendment jurisdictional question.” Kostok v. Thomas, 105 F.3d 65, 68 (2d Cir. 1997).

                                                        23
        Case 3:22-cv-00380-JAM Document 23-1 Filed 06/17/22 Page 24 of 42




         “In discerning on which side of the line a particular case falls, we look to the substance

rather than to the form of the relief sought and will be guided by the policies underlying the

decision in Ex parte Young.” Papasan v. Allain, 478 U.S. 265, 279 (1986) (citing Edelman v.

Jordan, 415 U.S. 651, 668 (1974)). The analysis is not based on “formal distinctions” but rather

on the “‘practical effect’” of the relief sought. Id. at 280 (quoting Edelman, 415 U.S. at 668). If

the relief the plaintiffs demand “is essentially equivalent in economic terms to” an award of “an

accrued monetary liability,” the Eleventh Amendment bars it. Id. at 281 (emphasis in Papasan)

(quotation marks omitted).

         The relief Plaintiffs demand meets that standard. Plaintiffs acknowledge that “[e]ach

person’s debt encompasses costs accrued in the past,” AC at ¶ 54, and they expressly ask this

Court to “declar[e]” Plaintiffs’ accrued “prison debt . . . invalid, null, void and unenforceable.”

Id. at p. 20 ¶ (a). If this Court were to grant Plaintiffs the relief they demand, it would be

“essentially equivalent in economic terms to” the award of damages for past conduct the

Supreme Court has consistently held the Eleventh Amendment bars. Papasan, 478 U.S. at 279.15

“The difference between possible future earnings and present entitlement to future payment has

been recognized as marking the line between prospective and retrospective relief.” Barton v.

Summers, 293 F.3d 944, 951 (6th Cir. 2002) (citing Papasan, 478 U.S. at 281). Here, Plaintiffs

ask this Court to deprive the state of its present entitlement to future payment and—as a result—

their claims fall squarely on the retroactive side of the line. That would have a real economic

impact on the state; Plaintiffs affirmatively allege that the state “has collected an average of $5.8

million annually from prison debtors over the last five fiscal years.” AC ¶ 98.


15
   See also Republic of Paraguay v. Allen, 134 F.3d 622, 628-29 (4th Cir. 1998) (holding that even though the
plaintiff nation characterized its claims as prospective based on its present effect on the nation’s citizen, “the only
presently effective relief sought for the violations claimed and conceded is quintessentially retrospective: the
voiding of a final state conviction and sentence”).

                                                         24
        Case 3:22-cv-00380-JAM Document 23-1 Filed 06/17/22 Page 25 of 42




         Although Papasan would have involved payment by the state and the relief here would

prevent the state from collecting accrued monetary liabilities, the “‘practical effect’” of both

would be identical; either way, the state is being deprived of a specific monetary value it has an

established legal interest in as a result of a federal court’s finding that past actions by the state

and its officials were unlawful. Papasan, 478 U.S. at 280 (quoting Edelman, 415 U.S. at 668).

“[A] decision in favor of” Plaintiffs “would effectively prevent the State from collecting monies

otherwise due to it, and it is difficult to draw a rational distinction between a [debtor’s] attempt

to recover funds already paid to the state” (which the Eleventh Amendment plainly bars) “from

one that seeks to discharge present debts to the state.” Mitchell v. Franchise Tax Board (In re

Mitchell), 209 F.3d 1111, 1117 (9th Cir. 2000). “It is wholly irrelevant” to the Ex parte Young

analysis that Plaintiffs seek to enjoin “future” collection; such an injunction “would be the

functional equivalent of retrospective monetary damages paid from the state treasury because the

amount, obligation and ownership of the funds” covered by the challenged statutes were

determined in the past, “rather than upon receipt of the funds” by the state. Floyd v. Thompson,

111 F. Supp. 2d 1097, 1101 (W.D. Wis. 1999), aff’d on other grounds, 227 F.3d 1029, 1034 (7th

Cir. 2000); see also Barton, 293 F.3d at 950-51 (similar); Strawser v. Lawton, 126 F. Supp. 2d

994, 1003 (S.D. W. Va. 2001) (addressing the same issue as Floyd, finding that “virtually every

court addressing the issue to date has . . . dismiss[ed] on Eleventh Amendment grounds,” and

citing cases); but see Harris v. Owens, 264 F.3d 1282, 1291 (10th Cir. 2001) (reaching a

contrary result).16


16
  In the interest of candor, Defendants acknowledge that this Court held that the Eleventh Amendment did not bar
an earlier individual challenge to Conn. Gen. Stat. § 18-85b before rejecting the challenge on its merits. Bonilla v.
Semple, 2016 U.S. Dist. LEXIS 118022, at *6-13 (D. Conn. Sep. 1, 2016) (Bolden, J.). Defendants respectfully
submit that this Court should not follow Bonilla’s Eleventh Amendment approach for two primary reasons. First, the
Court’s substantial reliance on a distinction between a payment that a plaintiff has already made and one the plaintiff
“has not yet made” was inconsistent with Supreme Court and Second Circuit Eleventh Amendment guidance
focusing on the practical effect of the relief sought. Id. at 13. Second, as will be discussed in more detail below, the

                                                          25
        Case 3:22-cv-00380-JAM Document 23-1 Filed 06/17/22 Page 26 of 42




        The Second Circuit’s decision in Williams v. Marinelli, 987 F.3d 188 (2d Cir. 2021), is

instructive. Marinelli involved an appeal from a decision granting in part and denying in part an

inmate’s motion for aid of judgment that claimed that 42 U.S.C. § 1983 preempted Conn. Gen.

Stat. § 18-85b(a) as the state law applied to the inmate. Id. at 195. The state objected to the

inmate’s motion on inter alia Eleventh Amendment grounds. See id. The Second Circuit held

that the Eleventh Amendment did not bar the motion because the “relief took nothing from the

State of Connecticut; it was directed at Marinelli, sued in his individual capacity in this § 1983

action.” Id. at 197. In so holding, the Court pointed out that “[t]he district court carefully

refrained from granting [the inmate’s] requests for various forms of monetary relief from the

State, including . . . that the State unfreeze the assets in his inmate trust account.” Id.

        The “‘practical effect’” of the relief Plaintiffs demand would be similar to the effect of

unfreezing the assets in an inmate trust account. Papasan, 478 U.S. at 280 (quoting Edelman,

415 U.S. at 668). Neither form of relief requires payment from the state treasury. However, both

would have the effect of depriving the state of its accrued monetary interests based on a finding

that past state conduct was unlawful. Therefore, the Eleventh Amendment bars Plaintiffs’ claims

as retrospective.

        That result is fully consistent with the “policies underlying the decision in Ex parte

Young.” Papasan, 478 U.S. at 279. “[P]rinciples of Eleventh Amendment law attempt to strike a

balance between the states’ sovereign immunity and the supremacy of federal law.” Perales, 50

F.3d at 134 (citing Pennhurst State School and Hosp. v. Halderman, 465 U.S. 89, 105 (1984)).



Court should not have addressed the complex Eleventh Amendment retroactivity issues given that the Court
(correctly) concluded that the plaintiff’s action should be dismissed based on a Rule 12(b)(6) analysis. Compare id.
at *13-19 (granting the defendants’ motion to dismiss on Rule 12(b)(6) grounds), with Guzman, 2022 U.S. App.
LEXIS 6741, at *21 n.18 (noting that in the “Eleventh Amendment context, we have declined to engage in a
complex jurisdictional analysis when a straightforward basis of decision was available, thereby avoiding
unnecessary issues”).

                                                        26
        Case 3:22-cv-00380-JAM Document 23-1 Filed 06/17/22 Page 27 of 42




On one side of that balance, “[t]he doctrine of Ex parte Young . . . ensures that state officials do

not employ the Eleventh Amendment as a means of avoiding compliance with federal law.”

Puerto Rico Aqueduct & Sewer Authority v. Metcalf & Eddy, Inc., 506 U.S. 139, 146 (1993). By

allowing “prospective relief” to ensure future compliance with federal law, “Ex parte Young

gives life to the Supremacy Clause.” Green, 474 U.S. at 68. On the other side of the balance, the

Eleventh Amendment bars retrospective relief because “compensatory or deterrence interests are

insufficient to overcome the dictates of the Eleventh Amendment.” Id.

         Plaintiffs are seeking to vindicate their compensatory interests in not paying a debt owed

to the state that Plaintiffs accrued in the past and has not been paid. Plaintiffs acknowledge the

nature of their claims when they allege that “[e]ach person’s debt encompasses costs accrued in

the past.” AC at ¶ 54 (emphasis added). Erasing Plaintiffs’ “accrued monetary liability” would

effectively compensate Plaintiffs for past state conduct they allege was unlawful. Papasan, 478

U.S. at 281 (emphasis in Papasan). The retrospective relief Plaintiffs demand is unnecessary to

vindicate Ex parte Young’s purpose of ensuring Defendants’ future compliance with federal

law—in the event that a plaintiff with standing brings a ripe claim against a proper defendant that

is not moot and the federal courts finally hold the challenged statutes and regulations

unconstitutional in that action, Defendants will comply with that ruling and ensure that Plaintiffs

do not accrue any additional monetary liability that is inconsistent with federal law. 17 That is not

this case.

         Defendants believe it is clear that Plaintiffs seek retrospective relief that the Eleventh

Amendment bars. If this Court somehow believes the issue is murky, it need not—and should

not—wade into these waters at this point if it agrees that Plaintiffs’ Amended Complaint cannot


17
   To be clear, Defendants believe the challenged statutes and regulations are constitutional for the reasons discussed
in detail below.

                                                         27
        Case 3:22-cv-00380-JAM Document 23-1 Filed 06/17/22 Page 28 of 42




survive Defendants’ Motion to Dismiss on other grounds. In the “Eleventh Amendment context,”

the Second Circuit has “declined to engage in a complex jurisdictional analysis when a

straightforward basis of decision was available, thereby avoiding unnecessary issues.” Guzman,

2022 U.S. App. LEXIS 6741, at *21 n.18.

        That includes when the “straightforward basis of decision” is the merits of Plaintiffs’

claims. Id. In Guzman, the Second Circuit cited with approval cases from other Circuits where

“[c]onditional assertions of immunity, essentially a jurisdictional argument in the alternative,”

led those “courts to conclude that there is no need to decide the jurisdictional question before

reaching the merits.” Id. at *21 n.17 (citing cases, including Parella v. Ret. Bd. of R.I. Emps.’

Ret. Sys., 173 F.3d 46, 55 (1st Cir. 1999) and Floyd, 227 F.3d at 1035). Where “a particular case

presents an easy merits issue (favoring the defendant) and a difficult Eleventh Amendment

issue,” courts should decide it on non-Eleventh Amendment grounds even if those grounds

involve the merits. Parella, 173 F.3d at 56. Under the circumstances, the Court should address

any and all of Defendants’ other grounds for dismissal before deciding whether the Eleventh

Amendment bars Plaintiffs’ claims. See id. at 1034-35. 18

V.      The Court Should Dismiss Plaintiffs’ Eighth Amendment Claim Because it Fails to
        State a Claim Upon which Relief Can be Granted

        The single Count of Plaintiffs’ Amended Complaint asserts that “the challenged statutes

and regulations 19 violate the Excessive Fines Clause” of the United States Constitution. AC ¶ 123

(citing U.S. Const. amend. 8, cl. 3). The Eighth Amendment provides that “Excessive bail shall




18
   In the event that Plaintiffs move for class certification, it will likely raise additional complex Eleventh
Amendment issues that the named Plaintiffs’ claims do not raise as pleaded.
19
   As discussed above, Plaintiffs’ Amended Complaint is based on the challenged laws pre-amendment and
Plaintiffs chose not to move to amend or supplement their Amended Complaint to challenge the laws as amended
despite having opportunity to do so. Therefore, this analysis is based on the challenged laws as they existed at the
time the operative Amended Complaint was filed.

                                                        28
        Case 3:22-cv-00380-JAM Document 23-1 Filed 06/17/22 Page 29 of 42




not be required, nor excessive fines imposed, nor cruel and unusual punishments inflicted.” U.S.

Const. Amend. VIII.

        The Supreme Court did not “consider[ ] an application of the Excessive Fines Clause” for

the first time until 1989. Browning-Ferris Industries v. Kelco Disposal, 492 U.S. 257, 262 (1989)

(“Browning-Ferris”). 20 “By its plain language, the Excessive Fines Clause of the Eighth

Amendment is violated only if the disputed fees are both ‘fines’ and ‘excessive.’” Tillman v.

Lebanon County Correctional Facility, 221 F.3d 410, 420 (3d Cir. 2000) (citing United States v.

Bajakajian, 524 U.S. 321 (1998)).

        Consistent with the Excessive Fines Clause’s plain language, the first step in the analysis

is to “look to the origins of the Clause and the purposes which directed its Framers” to determine

whether the challenged fees constituted fines to which the Excessive Fines Clause applied when

the Eighth Amendment was ratified in 1791. Browning-Ferris, 492 U.S. at 264 n.4; see Timbs,

139 S. Ct. at 687 (noting that the Bill of Rights was “ratified in 1791”). If the historical analysis

indicates that the Clause did not apply to comparable fees at the time of ratification, that ends the

inquiry. See id. at 264-276 (holding that the Excessive Fines Clause does not apply to civil

punitive damages awards based on a historical analysis).

        If the historical analysis indicates that the Excessive Fines Clause applied to comparable

fees at the time of ratification, the Court “turn[s] next to” the second step and “consider[s]

whether” the challenged fees “are properly considered punishment today” and the Excessive

Fines Clause continues to apply. Austin v. United States, 509 U.S. 602, 619 (1993). That involves

an examination of the relevant statutes and “their legislative history” to determine whether those

materials “contradict the historical understanding of” the challenged fees “as punishment.” Id.


20
  The Court did not hold that the Excessive Fines Clause was incorporated by the Due Process Clause of the
Fourteenth Amendment and applicable to the states until 2019. See Timbs v. Indiana, 139 S. Ct. 682, 687 (2019).

                                                      29
       Case 3:22-cv-00380-JAM Document 23-1 Filed 06/17/22 Page 30 of 42




       Only if the first two steps establish that the fees are fines for Eighth Amendment

purposes does the Court reach the third step and consider whether the fines are “constitutionally

‘excessive.’” Id. at 622; see also Bajakajian, 524 U.S. at 334 (“Because the forfeiture of

respondent’s currency constitutes punishment and is thus a ‘fine’ within the meaning of the

Excessive Fines Clause, we now turn to the question of whether it is ‘excessive.’”). The Court

has indicated that a fine “violates the Excessive Fines Clause if it is grossly disproportional to the

gravity of a defendant’s offense.” Bajakajian, 524 U.S. at 334. The Court has “emphasized . . .

that judgments about the appropriate punishment for an offense belong in the first instance to the

legislature.” Id. at 336. That said, a fine may be constitutionally excessive if “it bears no

articulable correlation to any injury suffered by the Government.” Id. at 340.

       “‘The burden rests on the [challenger of the fine] to show the unconstitutionality’” of the

fine. Greenport Gardens, LLC v. Village of Greenport, 2021 U.S. Dist. LEXIS 188876, at *41

(E.D.N.Y. Sep. 30, 2021) (quoting United States v. Castello, 611 F.3d 116, 120 (2d Cir. 2010)

(quotation marks omitted; modifications in Greenport Gardens, LLC)). Plaintiffs have not met—

and cannot meet—that burden. “Courts have generally held that charging inmates for room and

board to defray costs of incarceration fails to state an actionable constitutional claim under the

Eighth Amendment Excessive Fines Clause or the Fourteenth Amendment Due Process Clause.”

Hooks v. Kentucky, 2016 U.S. Dist. LEXIS 103238, at *6-7 (W.D. Ky. Aug. 4, 2016) (citing

cases). This Court should reach the same result here; costs of incarceration payments serve

remedial purposes that the Supreme Court has held are outside the historical and modern domain

of the Excessive Fines Clause and such payments, by their nature, are not grossly

disproportionate to the cost an inmate’s incarceration imposes on the state and its citizens.




                                                 30
       Case 3:22-cv-00380-JAM Document 23-1 Filed 06/17/22 Page 31 of 42




       A. Requiring Inmates to Contribute Toward the Costs of their Incarceration
          was Not Considered a Fine or Punishment when the Eighth Amendment
          was Ratified

       “The Eighth Amendment received little debate in the First Congress and the Excessive

Fines Clause received even less attention.” Browning-Ferris, 492 U.S. at 264. However, by its

terms, “the Amendment is addressed to bail, fines, and punishments,” so Supreme Court “cases

long . . . understood it to apply primarily, and perhaps exclusively, to criminal prosecutions and

punishments.” Id. at 262. “Simply put, the primary focus of the Eighth Amendment was the

potential for governmental abuse of its ‘prosecutorial’ power . . .” Id. at 266. Consistent with

that, “[i]n the absence of direct evidence of Congress’ intended meaning” as to the Excessive

Fines clause, the Supreme Court found “it significant that at the time of the drafting and

ratification of the Amendment, the word ‘fine’ was understood to mean a payment to a sovereign

as punishment for some offense.” Id. at 265.

       The Supreme Court has since held that the Excessive Fines Clause applies outside the

purely criminal context—specifically to some civil in rem forfeitures—but the Court has

continued to emphasize that “[t]he Excessive Fines Clause limits the government’s power to

extract payments, whether in cash or in kind, ‘as punishment for some offense.’” Austin, 509

U.S. at 610 (quoting Browning-Ferris, 492 U.S. at 265 (emphasis in Austin)). Therefore, the

initial question before this Court is whether “at the time the Eighth Amendment was ratified” a

sovereign’s requirement that inmates contribute toward the costs of their incarceration would

have been “understood at least in part as punishment.” Id. If not, the Excessive Fines Clause does

not apply. Browning-Ferris, 492 U.S. at 264 n.4.




                                               31
       Case 3:22-cv-00380-JAM Document 23-1 Filed 06/17/22 Page 32 of 42




        The Court should dismiss Plaintiffs’ claim as a matter of law because costs of

incarceration fees are outside the Excessive Fines Clause’s domain. See, e.g., Merritt v. Shuttle,

Inc., 13 F. Supp. 2d 371, 383 (E.D.N.Y. 1998), remanded on other grounds, 187 F.3d 263 (2d

Cir. 1999) (granting a motion to dismiss an Eighth Amendment claim where the plaintiff did not

allege that he was required to “pay a fine” nor did he allege that he was subjected to

“‘punishment’ within the scope of the Eighth Amendment”). The Supreme Court has made clear

that statutes requiring the payment of money to secure the rights of the government were not

historically “considered punishments for criminal offenses.” Bajakajian, 524 U.S. at 341. Rather,

such statutes were considered “‘fully . . . remedial in . . . character,’” and therefore the Eighth

Amendment did not apply to them. Id. at 342 (quoting Stockwell v. United States, 80 U.S. 531,

13 Wall. 531, 546 (1871)). Such forfeitures “have been recognized as enforcible by civil

proceedings since the original revenue law of 1789” and “[i]n spite of their comparative

severity,” their “remedial character. . . has been made clear by this Court in passing upon similar

legislation.” Helvering v. Mitchell, 303 U.S. 391, 400-01 (1938). They are remedial because

“[t]hey are provided primarily as a safeguard for the protection of the revenue and to reimburse

the Government for the heavy expense of investigation and the loss resulting from the taxpayer’s

fraud.” Id. at 401.

        Supreme Court precedent establishes that where the consequences of an individual’s

actions negatively impact the public fisc, remedying that impact via statutes that allow the

government to seize the individual’s funds was historically considered “‘a fit subject for

indemnity.’” Bajakajian, 524 U.S. at 341 (quoting Stockwell, 13 Wall. at 546). That was true

even where “the forfeiture was a multiple of the value of the goods” involved in the criminal

action; where there was an impairment of a “‘government right,’” the government could recover



                                                32
       Case 3:22-cv-00380-JAM Document 23-1 Filed 06/17/22 Page 33 of 42




multiples of the value of the goods to remedy that impairment by statute without it being

punishment governed by the Eighth Amendment. Id. (quoting Stockwell, 13 Wall. at 546).

“Because they were viewed as nonpunitive, such forfeitures traditionally were considered to

occupy a place outside the domain of the Excessive Fines Clause.” Id. at 331. The Second

Circuit has likewise recognized that “forfeitures . . . intended not to punish the defendant but to

compensate the Government for a loss . . . fall outside the scope of the Excessive Fines Clause.”

United States v. Viloski, 814 F.3d 104, 109 (2d Cir. 2016) (citing Bajakajian, 524 U.S. at 329).

       That logic applies with equal force here and requires dismissal of Plaintiffs’ claims; at

ratification the payments required by the costs of incarceration statutes would have been

“considered not as punishment for an offense, but rather serving the remedial purpose of

reimbursing the Government for the losses accruing from” the individual’s imprisonment.

Bajakajian, 524 U.S. at 342. “[T]he concept that jail inmates could be made to pay some type of

room and board or confinement cost has deep roots in the Anglo-American legal tradition” and

“[i]n the United States, versions of this general requirement have been imposed on inmates since

the Colonial Era.” Leah A. Plunkett, Article: Captive Markets, 65 Hastings L.J. 57, 65-66 (Dec.

2013) (footnotes omitted); see, e.g., Souza v. Sheriff of Bristol County, 918 N.E.2d 823, 829 n.9

(2010) (noting that there was no dispute that sheriffs were historically authorized to charge

inmates certain fees for inter alia “‘diet’” and citing laws as early as 1663). “Reimbursement for

services rendered” is not “properly labeled a ‘fine’” for Eighth Amendment purposes. United

States v. Leone, 813 F. App’x 665, 669-70 (2d Cir. 2020) (Summary Order) (citing Bajakajian,

524 U.S. at 327-28) (holding that a Monitoring Condition requiring the payment of the “full cost

of monitoring services” was not a fine covered by the Eighth Amendment).




                                                33
        Case 3:22-cv-00380-JAM Document 23-1 Filed 06/17/22 Page 34 of 42




         B. Requiring Inmates to Contribute Toward the Costs of their Incarceration
            is Not Punishment Today

         Given that the historical analysis establishes that the costs of incarceration fees would not

 have been considered fines, the Court need not determine whether the passage of time has

 changed matters in a way that would lead to a different result. See, e.g., Browning-Ferris, 492

 U.S. at 273-76 (holding that the modernizing aspect of the Court’s Eighth Amendment

 jurisprudence did not have force where the challenged action was not “a strictly modern

 creation”). In any event, modern jurisprudence establishes that costs of incarceration fees are

 not “properly considered punishment today.” Austin, 509 U.S. at 619. 21

         As noted above, courts to address the issue “have generally held that charging inmates for

 room and board to defray costs of incarceration fails to state an actionable constitutional claim

 under the Eighth Amendment Excessive Fines Clause or the Fourteenth Amendment Due

 Process Clause.” Hooks, 2016 U.S. Dist. LEXIS 103238, at *6-7 (citing cases). The Third

 Circuit’s decision in Tillman is instructive. Like this action, Tillman involved an Excessive

 Fines Clause challenge to a program requiring a prisoner to pay costs associated with his

 incarceration. See Tillman, 221 F.3d at 413.

         The Third Circuit rejected the Excessive Fines Clause challenge. See id. at 420-21. The

 court began by analyzing whether the requirement that the prisoner pay costs constituted a

 “fine” for purposes of the Eighth Amendment. See id. at 420. The court reasoned that “[t]he fees

 here . . . do not appear to fit that mold” for multiple reasons: (1) “A prisoner’s term of

 incarceration cannot be extended, nor can he be reincarcerated, for failure to pay a negative


21
   As discussed above, given that Plaintiffs chose not to seek to amend or supplement, “today” for purposes of this
analysis is when the operative Amended Complaint was filed (before the challenged laws were amended). To be
clear, the challenged laws were constitutional at the time the Amended Complaint was filed, and the costs of
incarceration statutes remain constitutional post-amendment. Defendants will detail the analysis of the statutes post-
amendment if and when that issue is presented.

                                                         34
        Case 3:22-cv-00380-JAM Document 23-1 Filed 06/17/22 Page 35 of 42




 balance.”; (2) “The daily fees do not vary with the gravity of the offense and can neither be

 increased nor waived.”; (3) “[T]he undisputed evidence show[ed] that the fees” were not “being

 used to punish”; and (4) “[T]he fees c[ould] hardly be called fines when they merely

 represent[ed] partial reimbursement of the prisoner’s daily cost of maintenance, something he or

 she would be expected to pay on the outside.” Id.; see also 28 C.F.R. § 505.1 (“establish[ing]

 procedures for the assessment and collection of a fee to cover the cost of incarceration” and

 distinguishing between that “fee imposed by the Bureau” and a “fine” imposed by the court). 22

         Similarly, the costs of incarceration statues at issue do not fit the “mold” of constitutional

 fines. See Tillman, 221 F.3d at 420.The “nature of the statute[s]” at issue is “more important to

 the inquiry” than some other factors. United States v. An Antique Platter of Gold, 184 F.3d 131,

 140 (2d Cir. 1999). The nature of the statutes challenged here is non-punitive; their “language . .

 . suggests a non-punitive purpose.” LeDuc v. Tilley, 2005 U.S. Dist. LEXIS 12416, at *13 (D.

 Conn. June 21, 2005) (Kravitz, J.).23 Plaintiffs’ terms of incarceration cannot be extended and

 they cannot be incarcerated for failure to pay. See Tillman, 221 F.3d at 420. The daily fee is

 calculated as an average and is uniform across all inmates, regardless of their offense. See Regs.

 of Conn. State Agencies § 18-85a-1(a) (A-14). The fees cannot be increased or waived based on

 the gravity of the offense. See Tillman, 221 F.3d at 420. 24


22
   The Third Circuit ultimately did not decide whether the costs were fines because it concluded “as a matter of law
that the amounts were not ‘excessive’ under the Eighth Amendment” and rejected the Excessive Fines Clause
challenge on that basis. Id. at 421. However, courts have followed the Third Circuit’s analysis on the fine issue and
this Court should as well. See, e.g., Benjamin v. Clark, 2021 U.S. Dist. LEXIS 21191, at *13-14 (M.D. Pa. Feb. 4,
2021).
23
   See also State v. Strickland, 2002 Conn. Super. LEXIS 3714, at *11, 36 Conn. L. Rptr. 21 (Nov. 18, 2002), aff’d
on other grounds, 86 Conn. App. 677 (2004) (finding that “the legislation on its face has the significant non-punitive
goals of reimbursement of taxpayer expenses and, to a degree, rehabilitation in the sense that inmates realize that
they have some responsibility for their own care”).
24
   The challenged laws for purposes of the Amended Complaint did not condition the fees based on the inmate’s
offense. By contrast, the amendments to the challenged laws do deny certain exemptions to inmates incarcerated for
certain types of murder and sexual offenses. Counseled Plaintiffs chose not to move to amend or supplement to
challenge the challenged laws as amended, perhaps because none of the named Plaintiffs were incarcerated for
murder or sexual offenses.

                                                         35
        Case 3:22-cv-00380-JAM Document 23-1 Filed 06/17/22 Page 36 of 42




        In addition, the legislative history of the challenged statutes indicates that they were

 primarily intended for the remedial purpose of reimbursing the state for some of the costs

 resulting from inmates’ incarceration and are not “being used to punish.” Id.; see also

 Bajakajian, 524 U.S. at 342 (the Eighth Amendment does not apply to statutes that are “‘fully . .

 . remedial in . . . character’” (quoting Stockwell, 13 Wall. at 546); Austin, 509 U.S. at 619

 (looking to provisions’ “legislative history to” determine whether they constituted “punishment”

 for Eighth Amendment purposes). “[I]t is apparent from a review of the full legislative history

 of the enactment that the General Assembly’s intention in passing the legislation was, primarily,

 the recoupment of expense and not punishment for the prior crime.” Strickland, 2002 Conn.

 Super. LEXIS 3714, at *12. The secondary purpose was to ensure inmates understand the

 financial impacts of their incarceration. Id. “A thorough review of the legislative history shows

 that the only mention of ‘punishment’ was advanced by the Connecticut Civil Liberties Union,

 which opposed the bill in its entirety.” Id. at *14. Under Connecticut law, “[t]his opposition

 cannot, of course, be used to determine legislative intent.” Id. 25 As the Connecticut Superior

 Court found in striking an Eighth Amendment defense to an action brought by the state pursuant

 to Conn. Gen. Stat. § 18-85a, “neither the legislative history nor the specific wording of the

 statute in question impose ‘punishment.’” State v. Sebben, 2018 Conn. Super. LEXIS 9902, at

 *3 (Apr. 19, 2018). 26

        The text and legislative history of the challenged laws indicates that they were primarily

intended for the remedial purpose of partially reimbursing the state for the cost of Plaintiffs’

incarceration and to serve purely remedial purposes. Both the Supreme Court and the Second

25
   The remedial nature of the costs of incarceration mechanisms at issue here and in Tillman distinguishes them from
the mechanism the Ninth Circuit held constituted a fine in Wright v. Riveland, 219 F.3d 905, 915-16 (9th Cir. 2000).
26
   See also Alexander v. Commissioner of Administrative Services, 2003 Conn. Super. LEXIS 3197, at *12 (Nov. 12,
2003), aff’d, 86 Conn. App. 677 (2004) (“[R]andom liens, like random tax audits, are not criminal punishments and
are constitutionally permissible as long as they are neither invidiously nor illegitimately employed.”).

                                                        36
        Case 3:22-cv-00380-JAM Document 23-1 Filed 06/17/22 Page 37 of 42




Circuit have made clear that “‘the Excessive Fines Clause prohibits only the imposition of

‘excessive’ fines, and a fine that serves purely remedial purposes cannot be considered

‘excessive’ in any event.” United States v. Ortiz, 1999 U.S. App. LEXIS 13322, at *3 (2d Cir.

June 11, 1999) (Summary Order) (quoting Ursery, 518 U.S. at 287).27 That is true even when the

amount of the payment is large. See, e.g., United States v. Puello, 2016 U.S. Dist. LEXIS 19760,

at *7, *11 (E.D.N.Y. Feb. 18, 2016) (holding that the government’s recovery of

“$39,462,079.00” was purely remedial where “defendants received reimbursement from the

government to which they were not entitled and were thereby enriched at the expense of the

government”); Island Park, 2008 U.S. Dist. LEXIS 88677, at *17-18 (rejecting an Excessive

Fines Clause claim where the “judgment of $ 5,206,048 was entirely remedial”). 28

         “Absent a showing that” the challenged statutes were “enacted for punitive purposes,”

Plaintiffs’ “excessive-fines claim[s]” should “fail[ ].” Blaise v. McKinney, 1999 U.S. App.

LEXIS 15669, at *3 (8th Cir. July 12, 1999) (Per Curiam) (Unpublished) (affirming a district

court’s rejection of an Excessive Fines Clause challenge to a “‘pay-for-stay’ incarceration fee”




27
   See also Abrahams v. Conn. Dept. of Social Services, 2018 U.S. Dist. LEXIS 27870, at *23 (D. Conn. Feb. 21,
2018) (Haight, J.) (rejecting an Excessive Fines Clause claim where “the Defendants sought to recover monies
fraudulently obtained from the state of Connecticut” and holding that“[t]he monetary recovery sought was remedial,
not punitive, in nature,” citing U.S. v. Davis, 648 F.3d 84, 96 (2d Cir. 2011)).; United States v. Inc. Village of Island
Park, 2008 U.S. Dist. LEXIS 88677, at *17-18 (E.D.N.Y. Oct. 22, 2008) (“Island Park”) (rejecting an Excessive
Fines Clause challenge to False Claims Act penalties, holding that Supreme Court and Second Circuit precedent
“compelled” the conclusion that the penalties were remedial because they were intended to make the government
“completely whole” (citing United States v. Bornstein, 423 U.S. 303, 313 (1976) and United States ex rel Stevens v.
State of Vermont, 162 F.3d 195, 207 (2d Cir. 1998)); Ford Motor Credit Co. v. New York City Police Dept., 394 F.
Supp. 2d 600, 618 (S.D.N.Y. 2005) (holding that a deduction was “not subject to Eighth Amendment analysis”
because it “was remedial, as it is imposed to compensate the City for administrative expenses incurred in the
disposition of the vehicles” and “plainly not punitive”).
28
   The amount of the fees is not part of the analysis of whether they are fines for Eighth Amendment purposes; the
Supreme Court has stated that “[i]t is unnecessary in a case under the Excessive Fines Clause to inquire at a
preliminary stage whether the civil sanction imposed in that particular case is totally inconsistent with any remedial
goal.” United States v. Ursery, 518 U.S. 267, 287 (1996). “Because the second stage of inquiry under the Excessive
Fines Clause asks whether the particular sanction in question is so large as to be excessive, a preliminary-stage
inquiry that focused on the disproportionality of a particular sanction would be duplicative of the excessiveness
analysis that would follow.” Id. (internal citation omitted).

                                                          37
        Case 3:22-cv-00380-JAM Document 23-1 Filed 06/17/22 Page 38 of 42




(citing Austin, 509 U.S. at 609)). 29 The challenged costs of incarceration statutes and regulations

serve remedial purposes 30 and the Court should therefore dismiss Plaintiffs’ claim under the

Excessive Fines Clause as a matter of law.

        Modern jurisprudence, the provisions at issue, and their “legislative history” are

 consistent with “the historical understanding” that requiring Plaintiffs to contribute to the costs

 associated with their incarceration is not “punishment” for Eighth Amendment purposes. Austin,

 509 U.S. at 619. Rather, requiring Plaintiffs to contribute “serve[s] the remedial purpose of

 compensating the Government for [the] loss” associated with incurring the costs related to

 Plaintiffs’ incarceration. Bajakajian, 524 U.S. at 329 (citing Black’s Law Dictionary 1293 (6th

 ed. 1990) and One Lot Emerald Cut Stones v. United States, 409 U.S. (1972) (Per Curiam)). As

 a result, this Court should dismiss Plaintiffs’ Excessive Fines Clause claim as a matter of law.

        C. The Costs of Incarceration Are Not Excessive

        This Court need not—and should not—reach the issue of excessiveness given that the

challenged statutes are remedial and therefore outside the Excessive Fines Clause’s scope. See,

e.g., Ursery, 518 U.S. at 287. In the event the Court does reach the excessiveness analysis,

Plaintiffs   bear     a heavy       burden;     they    must     show     that    the challenged fees           are

“‘grossly disproportional to the gravity of the defendant’s offense.’” Viloski, 814 F.3d at 113

(quoting Bajakajian, 524 U.S. at 337 (emphasis in Viloski)). The applicable test “is highly

deferential” to the legislative determination at issue. Id. (quotation marks omitted).



29
   See also In re Personal Restraint of Metcalf, 963 P.2d 911, 919-20 (Wash. App. 1998) (rejecting an Excessive
Fines Clause challenge to a costs of incarceration fee, holding that “[t]he purpose of collecting reimbursement for
costs of incarceration is thus remedial, not punitive”).
30
   The challenged provisions were designed “solely to serve a remedial purpose” and therefore are not punitive.
Austin, 509 U.S. at 610. Even if there could be any doubt that the provisions are solely remedial, since Austin, the
Supreme Court and the Second Circuit have indicated that a statute can be remedial even if it “‘serves a variety of
purposes’” as long as it is “‘designed primarily’” to be remedial. Ortiz, 1999 U.S. App. LEXIS 13322, at *3 (quoting
Ursery, 518 U.S. at 284). The challenged laws easily meet that standard.

                                                        38
        Case 3:22-cv-00380-JAM Document 23-1 Filed 06/17/22 Page 39 of 42




         Whether the costs of incarceration assessed on Plaintiffs are constitutionally excessive is

a question of law at this stage and under these circumstances. See Wright, 219 F.3d at 916-18;

see also Bajakajian, 524 U.S. at 336 n.10 (holding that “the question of whether a fine is

constitutionally excessive calls for the application of a constitutional standard to the facts of a

particular case 31, and in this context de novo review of that question is appropriate”). This Court

should reject Plaintiffs’ claims as a matter of law; as the Ninth Circuit reasoned, “[b]y definition,

it seems that a fine based on a criminal’s cost of incarceration will always be proportional to the

crime committed.” Wright, 219 F.3d at 917. “‘Because lengthier sentences are more costly, a fine

linked to the convict’s costs of incarceration reflects the degree of harm caused by the convict’s

offense.’” Id. (quoting United States v. Zakhor, 58 F.3d 464, 466 (9th Cir. 1995)).

         The challenged statutes and regulations base the assessed cost of incarceration on the

costs the state incurs resulting from the inmate’s incarceration. Regs. of Conn. State Agencies §

18-85a-1(a) (A-14). Plaintiffs are critical of the amount of those assessed costs but Plaintiffs do

not allege that the assessed costs do not, in fact, reflect the costs to the state. Nor could Plaintiffs

credibly make such allegations. See, e.g., State v. Sebben, 243 A.3d 365, 376 (Conn. Super.

2019), aff’d, 201 Conn. App. 376 (2020), cert. denied, 336 Conn. 919 (2021) (rejecting a former

inmate’s argument that the costs of incarceration sought by the state were “based upon an

unreliable calculation”).32 The costs Plaintiffs have been assessed reflect a portion—and only a

portion 33—of the costs the state (and, by extension, the state’s taxpayers) have borne as a result


31
   At this stage and for purposes of this Motion, the Court—and Defendants—must take Plaintiffs’ properly pled
facts as true and assess whether Plaintiffs’ Amended Complaint states a claim as a matter of law.
32
   To the extent Plaintiffs have concerns about the accuracy of the cost calculations, they may challenge the costs in
the state collection proceedings. See, e.g., Sebben, 243 A.3d at 375-77 (addressing an objection based on the alleged
unreliability of the calculation of the costs of incarceration). That would preclude Plaintiffs’ claims if they could
somehow be construed as being based on incorrect calculations; “[a] § 1983 claim” is “unavailable” where Plaintiffs
“have an adequate state-law remedy” to challenge the calculations’ accuracy. Gilbert v. Sinclair, 2019 U.S. Dist.
LEXIS 122727, at *9 (W.D. Wash. May 22, 2019).
33
   Regardless of the amount owed, the state’s recovery is limited to no more than half of the proceeds of a cause of

                                                         39
        Case 3:22-cv-00380-JAM Document 23-1 Filed 06/17/22 Page 40 of 42




of Plaintiffs’ actions that resulted in their incarceration. As a matter of law, they are not

constitutionally excessive; Plaintiffs do not—and cannot—plausibly allege that they have been

required to pay costs that are “‘grossly disproportional to the’” costs the state has had to pay as a

result of Plaintiffs’ incarceration. Viloski, 814 F.3d at 113 (quotation marks omitted; emphasis in

Viloski); see also United States v. 38 Whalers Cove Drive, 954 F.2d 29, 32, 39 (2d Cir. 1991)

(holding that even if a $68,000 forfeiture was “truly a punishment,” it did not violate the

Excessive Fines Clause in the context of a $250 drug sale).

        D. The Eighth Amendment is Inapplicable to the Extent Plaintiffs’ Claims
           are Based on Pretrial Detention

        Plaintiffs’ Amended Complaint relies in part on allegations relating to pretrial detainees.

See AC ¶¶ 1, 30, 60, & 82. “[T]he Eighth Amendment has no application” to pretrial detainees.

Revere v. Massachusetts General Hospital, 463 U.S. 239, 244 (1983). To the extent Plaintiffs

rely on allegations relating to when they were “pre-trial detainee[s],” their “claims [a]re

governed by the due process clause, rather than the eighth amendment.” Covino v. Vermont Dept.

of Corrections, 933 F.2d 128, 129 (2d Cir. 1991) (citing Bell v. Wolfish, 441 U.S. 520, 535 n.16

(1979)). Therefore, the Court should dismiss Plaintiffs’ Eighth Amendment claims to the extent

they are based on pretrial detention. See, e.g., Slade v. Hampton Roads Regional Jail, 407 F.3d

243, 250 (4th Cir. 2005).

V.      Conclusion

        For the foregoing reasons, Defendants respectfully request that the Court grant this

Motion and dismiss Plaintiffs’ Amended Complaint in its entirety.




action (after the payment of expenses) or inheritance received within twenty years of release, see Conn. Gen. Stat. §
18-85b (A-3), and an inmate’s general liability both is limited by several exceptions, including one that exempts
most property “acquired by such inmate after the inmate is released from incarceration,” and is also time-limited to
two years after release (absent fraudulent concealment). See Conn. Gen. Stat. § 18-85a (A-1).

                                                        40
Case 3:22-cv-00380-JAM Document 23-1 Filed 06/17/22 Page 41 of 42




                                    Respectfully submitted,

                                    DEFENDANTS

                                    GOVERNOR NED LAMONT

                                    ATTORNEY GENERAL WILLIAM
                                    TONG

                                    WILLIAM TONG
                                    ATTORNEY GENERAL

                                    BY: /s/ Robert J. Deichert
                                    Robert J. Deichert (ct24956)
                                    Krislyn Launer (ct31041)
                                    Benjamin Abrams (ct29986)
                                    Assistant Attorneys General
                                    Attorney General’s Office
                                    165 Capitol Avenue
                                    Hartford, CT 06106
                                    860-808-5020 (phone)
                                    860-808-5347 (fax)
                                    Robert.Deichert@ct.gov
                                    krislyn.launer@ct.gov
                                    benjamin.abrams@ct.gov
                                    Attorneys for Defendants




                               41
       Case 3:22-cv-00380-JAM Document 23-1 Filed 06/17/22 Page 42 of 42




                                     Certificate of Service

       I hereby certify that on June 17, 2022 a copy of the foregoing was electronically filed.

Notice of this filing will be sent by e-mail to all parties by operation of the Court’s electronic

filing system. Parties may access this filing through the Court’s system.


                                                    /s/ Robert J. Deichert
                                                    Robert J. Deichert
                                                    Assistant Attorney General




                                               42
